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December 16, 2020 LED: 1a yo[ A |
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Honorable Kimba Wood

United States District Court Judge M0 FN DORSED
United States Courthouse ME

500 Pearl Street

New York, NY 10007

Re: United States v. Anthony Melo,
19 Cr 821 (KMW)

Your Honor,

I am writing on behalf of the defendant, Anthony Melo who as the Court is aware, is

released on a $100,000.00 Bond, co-signed by three members of his family and is on home

detention with electronic monitoring. Since his release from custody Mr, Melo has fulfilled”
all of pre-trial release requirements. Mr. Melo would most respectfully request permission rl
to leave his home and go to his grandmother’s house located at 609 West 196 Street. #3F,

New York, New York 10040 on Christmas Eve from 4:00pm until 1:00AM. His mother who

was appointed by the Court as a Third Party Guardian will be with him the entire time. The

people attending the gathering are only his immediate family and have been in the same

Covid pod for the past 9 months. I have reached out to the Government but have not gotten

a response. I have reached out to his pre-trial officer and she has no position. The Court

has granted these applications in the past and there have been no problems. Thus, I would

respectfully request that the Court grant the above request. Thank you very much for your
consideration of this matter

“The CouL Brant, fz. Respectfully yours,
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David Touger

SO ORDERED: N.Y, N.¥. jalasja.

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KIMBA M. WOOD
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